Case 09-10138-MFW. Doc 17944-14 Filed 02/22/17 Page 1 of 60

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Invoice No. 835001
November 16, 2015
L0353-000007

10/22/15 DAL _ Review letters to J. Stark and Farnan, and 2.10 $1,953.00
Committee mediation draft (2.1).

10/23/18 DAL Review Debtors' draft motion to consolidate 0.20 $186.00
appeals and email J. Heaney re same (.2).

10/26/15 BPG Prepare for (.3); and travel to, attend and return 2.70 $1,917.00

from in-person Committee meeting, follow-up
re: sarne, review revised settlement worksheet

(2.4).

10/26/15. DAL — Prepare for mediation, including meeting at 3.50 $3,253.00
Akin (3.5),

10/27/15 BPG Attention to e-mails re: mediation, follow-up 0.40 $284.00
re: same (.4).

10/27/15 CWD — E-mails re mediation, reviewing docket (.3). 0.30 $189.00

10/27/15 DAL — Mediation (8.3). 8.30 $7,719.00

10/28/15 CWD — E-mails re mediation. follow up re same, TC D. 0.60 $378.00
Lowenthal re same (.5); reviewing docket (.1).

10/28/15 DAL = Mediation (8.0). : 8.00 $7,440.00

10/29/15 BPG Review materials from mediation, follow-up re: 1.70 $1,207,00

same, confer D. Lowenthal and C. Dent re:
open issues, prepare for weekly call, participate
on same and follow-up (1.7).

10/29/15 CWD_ OCD. Lowenthal re mediation (.2); Committee 1.50 $945.00
call, OC D. Lowenthal and B. Guiney re same
and mediation (1.3).

10/29/15 DAL — Work on mediation issues in light of J. Farnan's 1.50 $1,395.00
requests (1.5).

Total Services 100.10 $83,959.00

Daniel A Lowenthal 60.40 hours at $930.00 $56,172.00

Brian P. Guiney 34.70 hoursat $710.00 $24,637.00

Craig W. Dent 5.00 hours at $630.00 $3,150.00
Total Expenses $0.00
Total This Invoice 5 8.3.2.99.9.00

CONFIDENTIAL 1T00000789
Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 2 of 60

Patterson Delcnmanm Veo & Tvier u-

Law Debenture Trust Company of New York

400 Madison Avenue
New York, NY 10017

Re: NORTEL

1433 Avenue of the Americas New York, NY 10036-6719 272.336.2000 fax 212:538,2227

Www. pbwtcom

Invoice No. 833208
October 16, 2015
FEI No. XX-XXXXXXX

,0353-000007

O/ITS

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CONFIDENTIAL ATTORNEY WORK. PRODUCT

For Professional Services Rendered For The Period Ending
September 30, 2015 In Connection With The Following:

Review revised mediation protocol (.3):
prepare for and participate on meet and confer
for mediation (1,2); attention to docket and
recently filed pleadings (.4); review further
revised protocol and follow-up, confer D,
Lowenthal re: same (.6); review proposed NDA
from Milbank and follow-up (-5).

Prepare for mediation meet and confer (.2);
conference all with counsel for Core Parties re
conference with MJ Thynge and update J.
Heaney (1.5) review updated draft protocol,
send same to J. Heaney and 8. Miller, te J.
Pultman with comments re same. and review
Standing Order re mediation (1.5); review
Milbank proposed NDA (.4).

Attention to e-mails re: mediation. follow-up
Lb. Lowenthal re: same (.3); attention to e-mails
re: calls and mediation (.3).

Court conference re mediation including emails
re possible mediator.

Prepare for and participate on call re: appeal
briefing. follow-up D. Lowenthal re: same (.9);
review appeal issues chart from Akin, prepare
for and participate on weekly call, follow-up re:
same (1.1); confer D, Lowenthal re: research
issues, follow-up re: same, reviewing case law
re: same (1.0).

3.00

3.60

0.60

7.50

3.00

$2,130.00

$3,348.00

$426.00

$6,975.00

$2,130.00

1T00000790
Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 3 of 60

Page 2

Invoice No. 833208
October 16, 2015
L0353-000007

9/3/15

9/AITS

9/A/IS

9/8/15

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9/AO/IS

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9/AA/TS

9/11/15

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Review and revise updated draft mediation
protocol, including emails with other
appellants' counsel.

E-mails re: appeal issues, review revised
protocol, follow-up re: same (.6); e-mails with
D. Lowenthal re: SNMP hearing (.1).

Review updated mediation protocol and send
same to J, Heaney (.3); review emails re
appellate briefing schedule (.2).

Prepare for and monitor SNMP hearing, update
D. Lowenthal re: same (3.5).

Reviewing docket (.1).

Review final version of mediation proposal and

send same to J. Heaney (.4); review email from
Monitor's counsel re appellate briefing
schedule (.1); update on court hearing from B.
Guiney (.3).

Attention to agenda for weekly call (.1).

Confer D. Lowenthal re: Nortel call and
follow-up re: same (.5).

Reviewing docket (.1); Committee call, OC D.
Lowenthal re related issues (1.3).

Review appellate rules re briefing schedule in
view of disagreement among parties and
Committee call (2.0).

Discuss appeal issues, follow-up re: same,
review C. Dent e-mail re: same (.2); attention
to e-mail from D. Botter (.1); follow-up re:
same (.1).

Call re appeal issues, e-mail to D. Lowenthal
and B, Guiney re same (.8).

Review docket (.2).

3.10

0.70

0.50

3.50

0.10
0.80

0.10
0.50

1.40

2.00

0.40

$2,883.00

$497.00

$465.00

$2,485.00

$63.00
$744.00

$71.00
$355.00

$882.00

$1,860.00

$284.00

$504.00

$142.00

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Page 3

Invoice No. 833208
October 16, 2015
L0353-000007

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9/22/15

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Review EMEA decision and Akin summary
(.5); prepare for and participate in weekly UCC
call, follow-up re: same (.6); update D.
Lowenthal re: same (.1).

Conf. with B. Guiney re update on Committee
eall (.2).

Attention to e-mail from M. Fagen (.1).

Work on fee statement (.4), email from US
Debtors' counsel re mediation schedule (.1).

Review appeal brief outline, consider same and
follow-up (.5); prepare quarterly report (1.5),
confer C, Dent re: PBGC issue and follow-up
(.1); follow-up re: SNMP hearing (.1).

OC B. Guiney re PBGC issues (.1); reviewing
docket (.1).

Confer D. Lowenthal and C. Dent re: open
issues and follow-up (.3): attention to SNMP
issue (.1); attention to docket (.1).

Reviewing docket (.1); OC D. Lowenthal and
B. Guiney re appeal issues (.2).

Confer with B. Guiney and C. Dent re appellate
briefing issues (.2); finalize fee statement and
send to Law Debenture (.1); draft and send
quarterly client update (1.0).

Confer D. Lowenthal re: weekly call (.2).

Committee call, OC D. Lowenthal re mediation
(1.2).

Review appellate brief outline and issues and
statements on appeal (1.2); Committee call and
related follow-up re mediation (1.0); analyze
PBGC issues and cases (.9); te T. Kirklin re
same (.1).

1.20

0.20

0.50

0.30

1.30

0.20
1.20

3.20

$852.00

$186.00

$71.00
$465.00

$1,562.00

$126.00

$355.00

$189.00

$1,209.00

$142.00
$756.00

$2,976.00

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Page 4

Invoice No. 833208
October 16, 2015
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9/30/15

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CWD_ Reviewing Magistrate Judge Order re 0.10 $63.00
mediation (.1).
DAL Review MJ Thynge's recommendation re 0.2.0 $186.00
mediation and send to J. Heaney (.2).
BPG — Te D. Lowenthal re: call with J. Tecce, follow- 1.00 $710.00
up re: same (.6); attention to follow-up e-mails
(.1); review letter from D. Abbott to Judge
Stark and follow-up re: same (.3).
CWD TCD. Lowenthal re holder issues. 0.50 $315.00
DAL Te with J. Tecce (.3); tc E. Lamek re appeal 2.80 $2,604.00
issues and timing (.4); emails with D. Botter
(.2); review US Debtors’ letter to J. Stark re
appellate briefing (.4); review Agenda (.1);
review MJ recommendation (.1); review appeal
issues (1.3).
Total Services 47.50 $39,011.00
Daniel A Lowenthal 25.70 hoursat. $930.00 $23,901.00
Brian P. Guiney 17.20. hours at $710.00 $12,212.00
Craig W. Dent 4.60 hoursat $630.00 $2,898.00
Company Cars 111.79
Tvl - Meals 17.87
Tvl. Transportation/Lodging 212.00
Total Expenses $341.66
Total This Invoice $39,352.66

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Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 6 of 60

Paterson melknap Vvebo « Tyler up

Law Debenture Trust Company of New York

400 Madison Avenue
New York, NY 10017

Re: NORTEL

7138 Svenus olihe Americas’ Naw York, NY TQOSBE7 10 212 SS8-9G00.0 fax SPP SSS 22 ee

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Invoice No. 830990
September 21, 2015
FEI No. XX-XXXXXXX

L0353-000007

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8/4/13

8/4/15

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CONFIDENTIAL

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CONFIDENTIAL ATTORNEY WORK PRODUCT

For Professional Services Rendered For The Period Ending
August 31, 2015 In Connection With The Following:

Confer D. Lowenthal re: Nortel appeal and
other issues (.3): draft notice to holders re:
appeal (1.1); review revised statement of issues
on appeal and consider same (.2).

Reviewing docket (.1); OC D. Lowenthal re
PBGC issues, follow up re same (.2); reviewing
and revising draft notice to holders, OC B.
Guiney re same (.5); e-mails re appellee
designations (.1),

Follow up with B. Guiney and C. Dent (.3).

Attention to e-mails and designation issues (.2);
follow-up re: notice to holders, confer R.
Johnson re: appeal issues, finalize notice (.3); te
D. Lowenthal and C, Dent re: appeal issues
(.3); confer T. Kirklin re: Nortel (.2)

Reviewing docket (.1); OC B. Guiney re notice
to holders, TC D. Lowenthal re same, revising
same, follow up re same (1.1); TC D.
Lowenthal re appeal issues, follow up re same
(.3).

1.60

0.90

0.30
0.80

$1,136.00

$567.00

$279.00
$568.00

$945.00

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Page 2

Invoice No. 830990
September 21, 2015
L.0333-000007

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8/6/15

8/6/15

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Review multiple appellant designations of
issues (.9); revise draft notice to holders (1.5);
te J. Tecce re next steps in the appeal and
update Law Debenture (.5); emails with E.
Lamek re status (.2); review emails between 5.
Miller and F. Godino re client issue (.2); review
status of appeal and go-forward issues with B.
Guiney and C. Dent (.3); review emails from C.
Armstrong re hearing in Canada (.2).

E-mails re PBGC issues (.1); OC D. Lowenthal
re appeal issues (.1).

Work on fee statement (.1).

Prepare e-mail to T. Kirklin re: research,
follow-up re: same (.5); review materials for
weekly call and prepare for same (.6); review
response to motion for leave and follow-up
(.4); participate on weekly call and follow-up
(.7); follow-up e-mails re: same (.1); review
correspondence re: EMEA claims issue (.2).

Preparing for and participating in Committee
call (.7); e-mails re PBGC issues (.1).

Committee call (.6); email J. Heaney re
appellee issues (.1); work on fee statement (.3);
review multiple letters from counsel for
EMEA, the US Debtors, and the UCC re
EMEA claims (1.3); review multiple briefs in
opposition to the Monitor's motion re
interlocutory appeals (1.0).

Reviewing docket (.1).

Attention to e-mails re: Canadian allocation
order (.2).

Review letters re revised Judgment in Canada
and emails to E, Lamek te same (.2).

E-mail J. Heaney re: Nortel, review C. Dent
summary of UCC call (.2).

Participate in Nortel call, e-mails re same w/D.
Lowenthal and B. Guiney (5).

3.90

0.20

0.10

2.50

0.80

3.30

0.10
0.20

0.50

0.20

0.50

$3,627.00

$126.00

$93.00
$1,775.00

$504.00

$3,069.00

$63.00
$142.00

$465.00

$142.00

$315.00

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Invoice No. 830990
September 21, 2015
L0353-000007

8/14/15

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8/26/15

8/27/15

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CONFIDENTIAL

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JTK

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JTK.

BPG

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JTK

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DAL

JTK

BPG

Reviewing Monitor's pleading re interlocutory
appeal motion (.1).

Confer D. Lowenthal re: open issues and
follow-up (.2); follow-up T. Kirklin re:
research and attention to same (.2)

Reviewing docket, OC D. Lowenthal and B.
Guiney re open issues (.1).

Analyze transactional documents and
correspondence from B. Guiney regarding
research.

Follow-up T. Kirklin re: research (.1).
Research case law.

Review materials circulated prior to call,
prepare for and participate on same, follow-up
C. Dent re: same (2.0).

Attention to e-mails related to Canadian appeal
(.3).

Attention to order and e-mails related to
District Court mediation (.1).

Emails re mediation order (.1).

Continue to research case law (.8); draft
memorandum regarding research on same (.4).

Review e-mails related to appeal issues,
cancellation of hearing and SNMP issues (.5);
meet and confer with D. Lowenthal re: open
issues and next steps (.5).

Conf. B. Guiney re upcoming meeting with
Magistrate Judge re mediation (.5)

Continue to research case law (.7); draft
memorandum regarding research on same (.3).

Prepare for and participate on weekly call,
follow-up re: same (1.5); confer T. Kirklin re:
his research, review same and follow-up (1.5).

0.10

0.40

0.10

0.60

0.10

1.10

2,00

0.30

0.10

0.10
1.20

1.00

0.50

1.00

3.00

$63.00

$284.00

$63.00

$351.00

$71.00

$643.50

$1,420.00

$213.00

$71.00

$63.00
$702.00

$710.00

$465.00

$585.00

$2,130.00

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Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 9 of 60

Page 4

Invoice No. 830990
September 21, 2015
1.0353-000007

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8/31/15
8/31/15

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DAL Review US Debtors! appeal brief filed in
Canada (.5); review US Debtors’ brief re

2.00

EMEA stay motion (.5); Committee call and

follow up (1.0).

JTK Continue to research case law (.6); draft

0.90

memorandum regarding research on same (.3).

BPG Attention to e-mail re: mediation, confer D. 1.50
Lowenthal re: same, follow-up re: same (.4):
follow-up re: T. Kirklin research (.2); follow-

up D. Lowenthal re: appeal issues (.4);

attention to proposed mediation protocol and

follow-up (5).

DAL Te with J. Tecce re mediation conference and 3.90
email J. Heaney re same; attempt tes and leave
messages for A. Qureshi, L. Schweitzer, and A.
LeBlanc per discussion with J. Tecce: review
prior mediation Order, tc A. Qureshi re status
of meet and confer and mediation stipulation,

email J. Heaney re same, review draft

mediation protocol, email same to S. Miller,

follow-up emails with A. Qureshi and 8.

Miller.

JTK. —_ Emails with B. Guiney re research.

BPG Attention to e-mails re: meet and confer (.2). 0.20

DAL. TcL. Schweitzer re mediation conference, 1.40
update colleagues, tc M. Riela re same (.6);
email J, Heaney (.3); attention to meet and

confer (.5)

Daniel A Lowenthal
Brian P. Guiney
Craig W. Dent

J. Taylor Kirklin

15.90
13.90
4.30
5.00

Total Services 39.10

hours at
hours at
hours at
hours at

$930.00 $14,787.00
$710.00 $9,869.00
$630.00 $2,709.00
$585.00 $2,925.00

$1,860.00

$526.50

$1,065.00

$3,627.00

$117.00
$142.00
$1,302.00

$30,290.00

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Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 10 of 60

Page 5

Invoice No. 830990
September 21, 2015
L0353-000007

Lexis Electronic Research 39.02

Outside Professional Services 30.00

Seamless 28.80

Tvl - Meals 10.25

Tvl. Transportation/Lodging 185.00
Total Expenses $293.07
Total This Invoice $30,583.07

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Case 09-10138-MFW.. Doc. 17944-14 Filed 02/22/17 Page 11 of 60

Patterson Delknap Vwobb & Tyler up

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1782 Avonus af the Amerinss.. Mew York, MY TQGgR10

Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017

fee PUP BSR 2299 ww pow.com

Invoice No. 829031
August 5, 2015
FEI No. XX-XXXXXXX

Re: NORTEL 1.0353-000007
CONFIDENTIAL ATTORNEY WORK PRODUCT
For Professional Services Rendered For The Period Ending
July 31, 2015 In Connection With The Following:
TAALS BPG Review update and follow-up re: sarne (.3). 0,30 $213.00
TALS CWD_ Reviewing docket and Committee email re 0.10 $63.00
settlement discussions (.1).
TI6/ANS BPG — Review and consider decisions on 1.60 $1,136.00
reconsideration from J. Gross and J. Newbould,
confer D. Lowenthal re: same, review e-mails
from Akin Gump re: same (1.6).
7/6/15 CWD _ Reviewing Orders re motions for 0.20 $126.00
reconsideration, e-mails re same (.1).
7/6/15 DAL _ Review three reconsideration decisions/orders 2.20 $2,046.00
issued by J, Gross and J. Newbould and email
same to J. Heaney, E. Lamek, and J. Tecce/D.
Holzman (2.2).
WINS BPG Prepare for and participate on Committee call, 4.30 $3,053.00
follow-up re: same research re; same (1.5); OC
D. Lowenthal re: same, incl. TC with S. Miller
for part, additional follow-up re: same (2.0);
attention to e-mails and follow-up D.
Lowenthal re: same (.2); te sarne re: same and
next steps (.4); confer C. Dent re: same (.2).
TWAS CWD OCD. Lowenthal and B. Guiney re opinions re 0.80 $504.00

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motions for reconsideration (.8).

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Case 09-10138-MFW Doc 17944-14 Filed 02/22/17. Page 12 of 60

Page 2

Invoice No. 829031
August 5, 2015
L.0353-000007

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7/10/15

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Review reconsideration decisions with Akin
(.8); analyze decision and next steps with E.
Lamek (.4): te S. Miller re J. Gross's decision
(.1); review local rules, te with B. Guiney and
S. Miller (.5); detailed analysis of decisions and
consideration of oversight, along with te with J.
Rosenthal. te with E. Lamek and conf B.
Guiney (2.4); follow-up with B. Guiney (.4).

Confer D. Lowenthal re: open issues (.2);
consider appeal issues and follow-up (.3);
attention to revised decision from J. Newbould
(.1); attention to D, Lowenthal e-mail to J.
Heaney and consider same (.1); follow-up D.
Lowenthal re: same (2).

E-mails re revised Canadian decision and
appeal issues (.2).

Emails with E. Lamek re Goodmans' letter to J.
Newbould (.1); review reconsideration
decisions re debtor allocation issue (.2); te J.
Teece re reconsideration decisions (.4); te J.
Heaney re appeal issues (.2); email S. Miller re
status (1.0); conf F. Hodara re next steps (.3);
update J. Heaney re same (.5); te J. Heaney re
same (,2); tc BRG re recovery analysis (.4).

Review recovery analysis and prepare for call
(.4); participate on same and follow-up D.
Lowenthal re: same (1.5); follow-up D.
Lowenthal re: appeal, tc same re: same (.3).

Reviewing BRG analysis re creditor recoveries
(.2); reviewing docket (.1); OC B. Guiney re
appeal issues (.2).

Tc F. Hodara re appeal issues and Committee
call and consider appeal issues (2.2); TC M.
Riela re appeal (.2).

Review draft of motion for leave to appeal (.5);
reviewing allocation decisions and decisions on
reconsideration per D. Lowenthal (.6).

4.60

0.90

0.20

3.30

0,50

1.10

$4,278.00

$639.00

$126.00

$3,069.00

$1,562.00

$315.00

$2,232.00:

5781.00

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Page 3

Invoice No, 829031
August 5, 2015
1.0353-000007

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TAS/LS

TASS

TIN6/TS

TI6/15

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CWD

DAL

BPG

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DAL

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CWD

Confer D. Lowenthal re: appeal, follow-up re:
same (.4).

Work on appeal issues with B. Guiney (.4);
leave detailed message for E. Lamek re same
(.1); review draft appeal brief in Canada (.3).

Confer C, Dent re: open issues, review draft
order from Goodmans, confer D. Lowenthal re:
appeal, review docket (.6).

Reviewing proposed form of judgment re
Canadian allocation decision, TC B,. Guiney re
same, e-mails re appeal issues (.2); reviewing
Committee motion for leave to appeal
Canadian allocation decision (.2).

Attention to appeal, including review of
decisions and lengthy te with E. Lamek, tc J.
Heaney, and draft email to J. Tecce (2.5); te J.
Tecce re status of appeals (.2); email J. Heaney
re same (.1); email J. Tecce confirmation re
appeals (.1).

Attention to e-mails re: status (.2); confer D.
Lowenthal re: appeal issues (.2); review revised
motion for leave (,2); follow-up re: appeal
issues with D. Lowenthal (.2).

Reviewing revised Committee motion for leave
to appeal Canadian allocation decision (.2).

Email S. Miller re appeal and tc re same (.2);
work on fee statement (.4).

Review US Debtors’ motion for leave to appeal
(.2); prepare for and participate on weekly call,
follow-up re: same (.7); review additional
pleadings in Canadian Court (.4).

Reviewing Debtors' motion for leave to appeal
Canadian allocation decision (.1); reviewing
NNSA motion for leave (.1); ; reviewing trade
consortium motion for leave (.1); Committee
call (8).

0.40

0.80

0.60

0.40

2.90

0.80

1.10

$284.00

$744.00

$426.00

$252.00

$2,697.00

$126.00

$558.00

$923.00

$693.00

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August 5, 2015
1.0353.--000007

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Committee call (.8); work on fee statement (.1);
begin review of motions for leave filed in
Canada (.1); review appeal motions filed in
Canada (1.1); memo to colleagues (.3).

E-mails re noteholder calls (.1).

Review cross-appeal filed by the trade claims
consortium (.1); review allocation and
reconsideration decisions, and appeal papers
filed to date re next steps (1.2).

Confer D. Lowenthal re: appeal, interim
distribution, other issues (.5); follow-up re:
direct appeal standard (.3); attention to BNY
appeal (.1); follow-up D. Lowenthal re:
certification issue, follow-up re: same, attention
to e-mail re: same (.3)

Reviewing docket (.1); OC D. Lowenthal re
noteholder issues (.2).

TC J. Pultman re appeal issues (.1); conf B.
Guiney re same (.2); update C. Dent (.2);
analyze certification issue, including review of
case law (.3); tc M. Riela re certification and
appeal issues (.7); email J. Heaney re update
(.3); te J. Tecce re update and follow-up (.3).

Review and consider stipulation re:
consolidating appeals (.2); attention to e-mails
re: same (.1).

Reviewing stipulation re appeals, OC B.
Guiney re same (.1).

Tc E. Lamek re claims administrator issue (.2);
review draft appeal consolidation notice and
email S. Miller re same (.1).

Attention to issues and stipulation related to
appeal (.2); tc D. Lowenthal re: same (.2);
review letter from M. Gottlieb re: same and
follow-up (.2); attention to e-mails re: appeal
stipulation (1).

240

0.10
1.30

0.40

2.10

0.30

0.10

0.30:

0.70

$2,232.00

$63.00
$1,209.00

$852.00

$252.00

$1,953.00

$213.00

$63.00

$279.00

$497.00

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Emails re mediation and appeal deadlines and
related stipulation, reviewing same (.2).

Review email from R. Johnson re mediation
stipulation and send same to J. Heaney (.2); tc
S. Miller re status of stipulation on appeal
deadlines and email J. Heaney re same (.1);
leave message for J. Pultman and tc J. Pultman,
tc J. Pultman re certification issue, and email J.
Heaney re same (.4); review updated stipulation
re briefing schedule and email same to J.
Heaney (.3); te B. Guiney re same (.1); email J.
Heaney re suggestion for statement to the
magistrate (.2); review letter from the Joint
Administrators re claims issues, summarize
same for J. Heaney, and te with B. Guiney re
same (.7); emails with R. Johnson re statement
to magistrate judge (.2).

Prepare for and participate on weekly call,
follow-up re: same (.6); attention to revised
stipulation and e-mails re: same (.2); attention
to PBGC appeal, research time for appeal (.2).

Review proposed judgment in Canada and
email E. Lamek (.2); emails to J. Heaney and
C. Samis re stipulation re appeal deadlines (.2);
analyze proposed judgment in Canada (.8);
Committee call and follow-up (.6); mediation
statement (.1).

Review certification motion, motion to shorten,
follow-up re: same (.6): additional follow-up D.
Lowenthal and M. Riela re: same (.2); review
corrected motion, update D. Lowenthal re:
same (.2); attention to order shortening notice,
calendar same, e-mail client re: certification
(.3).

E-mails re Monitor's motion, TC D. Lowenthal
re same (.2); reviewing docket (.2).

Review Monitor's motion for certification (.2);
tc with Monitor's counsel re sare (.1).

0.20

2.20

1.00

1.90

1,30

0.40

0.30

$126.00

$2,046.00

$710.00

$1,767.00

$923.00

$252.00

$279.00

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E-mails with D. Lowenthal re: status (.1). 0.10
Emails from Akin re certification update (.2). 0.20
E-mails with R. Johnson, review revised 2.00

statement on mediation (.2); reviewing
certification motion, consider same, e-mails re:
same (.3); review follow-up e-mails from
EMEA re: settlement issue, e-mails with D.
Lowenthal and C. Dent re: same, tc B. Kahn re:
same (.5); review draft of certification
objection, review supporting case law and
follow-up (1.0).

E-mails re Joint Administrators’ letter (.1); 0:30
reviewing docket (.1); reviewing Committee
objection to certification motion (.1).

Review emails from B. Guiney and R. Johnson 0.40
re certification issue (.1); update F. Godino

(.1); emails with B. Guiney and C. Dent re

UKPC request to seek clarification of J.

Newbould's reasons (.2).

Reviewing materials for hearing, reviewing 2.10
submission on appeal, follow-up re: logistics

for hearing (.6); review revised pleading,

follow-up R. Johnson re: same (.4); review

letter from Tory’s re: clarification of Newbould

order (.2); follow-up re: same (.1); review

responses and objections to motion to certify

(.8).

E-mails re Committee response to certification 0.10
motion, reviewing docket (.1).

Review update on certification motions (.2). 0.20
Prepare for, travel to, attend, and return from 8.10

hearing in Delaware on motion to certify,
follow-up re: same, update client re: same
(8.1).

E-mails re hearing, reviewing docket (.1). 0.10

$71.00
$186.00
$1,420.00

$189.00

$372.00

$1,491.00

$63.00

$186.00
$5,751.00

$63.00

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T3015 BPG Reviewing PBGC issues (1.2), confer C. Dent 2.70 $1,917.00
re: same (.2). prepare for and participate on
weekly call (.8); update te D. Lowenthal re:
open issues (.5).

TOLLS CWD_ TCB. Guiney re Nortel hearing (.2); OC B. 0.40 $252.00
Guiney re Committee call (.2).

7/30/45 DAL Te B. Guiney re hearing on certification motion 0.50 $465.00
and related issues (.5).
731/15 CWD._ Reviewing docket (.2); reviewing statement of 0,40 $252.00

issues on appeal (.2).

Total Services 67.60 $53,808.00

Daniel A Lowenthal 28.60 hoursat $930.00 $26,598.00
Brian P. Guiney 33.00 hoursat $710.00 $23,430.00
Craig W. Dent 6.00 hoursat $630.00 $3,780.00
Outside Professional Services 186.00

Total Expenses $186.00

Total This Invoice

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Law Debenture Trust Company of New York

400 Madison Avenue

New York, NY 10017

Re: NORTEL

1924 Avenue of the Americas New York NY POQ3E-8710 ESSE POO fax STZ SSG ee

wit Obw Econ

Invoice No. 826496
July 16,2015
FEI No. XX-XXXXXXX

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For Proféssional Services Rendered For The Period Ending
June 30, 2015 In Connection With The Following:

Review e-mails and attachments regarding
issuance of 2026 Notes (1.2); confer C. Dent
re: same and follow-up (.4); te D. Lowenthal
re: same (.8).

TC B. Guiney re noteholder call (.4).
To B. Guiney re Indenture issues (.5).

Confer D, Lowenthal re: call with holders,
prepare for same (.4); attention to notice and re-
notice issue, follow-up S. Miller re: same and
confer D. Lowenthal re: same (.5); participate
on call with holders’ counsel and follow-up
(1.1); follow-up C. Dent re: same (.4).

E-mails and follow up re note issuance issues,
TC D. Lowenthal re same (.8); TC B. Guiney
re noteholder call (.2).

Send documents to E, Lamek (.1); email from
Db. Holzman and follow-up re his request for
documents (.8); te J. Heaney re same (.2);
prepare for and participate in call with holders
and counsel and related follow-up with B.
Guiney and J, Heaney (3.0); review letter from
US Trustee's office, email from holders’
counsel and email from Committee counsel re
Committee membership (.2); review re-noticed
motion for Law Debenture and send to J.
Tecce, D, Holzman, and J. Heaney (.2).

2.40

0.40
0.50
2.40

1.00

$1,704.00

$252.00
$465.00
$1,704.00

$630.00

$4,185.00

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Attention to scheduling dispute and
correspondence re: same, follow-up D.
Lowenthal re: same (.5); confer C. Dent re:
open issues, review e-mails re: same and re:
direction from Court, follow-up D. Lowenthal
re: same (.4); attention to e-mails re: same (.1).

E-mails re hearing and response deadline for
motions for reconsideration, OC B. Guiney re
same (.2).

Review letter from US Debtors’ counsel to J,
Gross (.1); review email from Monitor's
counsel (.1); te D. Botter re scheduling (.1);
review letter from US Debtors' Canadian
counsel to J. Newbould (.1); Te J. Borow and.
C. Kearns re case issues (.1); review NOA from
trade group (.1); review email from
bondholders’ counsel re the Monitor's proposed
briefing schedule (.1); email J. Heaney with
recommendation (.1); leave detailed message
for E. Lamek and email to E. Lamek re same
(1); email counsel for all Core Parties re Law
Debenture's rejection of Monitor's proposed
schedule (.2); email S. Miller re US Debtors’
letter (.1); email to J. Tecce and D. Holzman
with US Debtors’ letter to J. Gross (.1); follow-
up with B. Guiney (.2); emails with S$. Miller re
Judge's rulings and next steps (.2).

Attention to e-mails re: appearance before J.
Newbould (.2): follow-up D. Lowenthal re:
same, consider same and attention to US
Debtors motion for reconsideration in Canada
(.8); follow-up e-mails re: new dates and conter
1D. Lowenthal and C. Dent re: same (.3); review
e-mails re: appeal in Canada, review draft
motion for reconsideration in Canada (4).

E-mails re Nortel hearing.

1.00 $710.00
0.20 $126.00
1.60 $1,488.00
1.70 $1,207.00
0.20 $126.00

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Emails from Monitor's counsel re hearing today
(.2); emails with E. Lamek and A. Hobhob re
same (.3); emails with Cassels re same (.2);
email from D, Abbott re teleconference with J.
Gross on June 5 (.1); review Order signed by J.
Gross re briefing schedule (.1); send same to J.
Teece and D, Holzman (.1); calendar same (.1);
te S. Kukulowicz re hearing in Canada (3);
email E. Lamek re update (.1); te E. Lamek and
D. Holzman re update (.1); work on fee
statement (.1); email from J. Tecce re proposal
for motion for reconsideration/clarification in
Canada (.1); emails with J. Heaney re same
(.1); review Law Debenture's re-notice of
motion for reconsideration in US (.6); email E.
Lamek re drafting motion due in Canada (.1);
review information re possible Committee
expansion (.6); email J. Heaney re same (.1).

E-mails with D. Lowenthal re: Committee call,
other open issues (.2); review draft objection to
Debtors’ US reconsideration motion, follow-up
re: same. confer C, Dent re: same (1.1):
attention to motion to reconsider in Canada and
follow-up re: same (.2).

E-mails re Canadian filing, OC B. Guiney re
same and US appeal issues (.4).

Review revised draft motion for
reconsideration in Canada (1.1) emails with E.
Lamek re same (.1); emails with J. Tecce re
draft pleading (.1); te J. Heaney re case issue
(.1); prepare for and participate in Committee
call (1.1); memo to J. Heaney re case issue (.2);
review US Debtors! motion for reconsideration
(1.5); review draft language for opposition to
Debtors' reconsideration motion (.5); email E.
Lamek re factum (.1).

Work on opposition to US Debtors’ motion for
reconsideration (1.4).

3.30 $3,069.00
1.50 $1,065.00
0.40 $252.00
4.80 $4,464.00
1.50 $1,395.00

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Reviewing draft objection to reconsideration
motion and confer D. Lowenthal re: same (1.1);
follow-up re: same, incl. OC D. Lowenthal and
TC L. Schweitzer (1.2); revising same and
follow-up (1.3); review draft factum for
reconsideration motion in Canada (.4); te D.
Lowenthal re: same (.3); e-mail E. Lamek re:
same (.1); revise response to D's
reconsideration motion and confer D.
Lowenthal re: same (.4).

Work on fee statement (.4); work on response
to US Debtors’ motion for reconsideration,
including review draft response with B. Guiney
and te L. Schweitzer and B. Guiney re NNCC
bond issues (1.7); revise draft response to US
Debtors’ reconsideration motion (2.5); review
draft factum re reconsideration motion in
Canada (.3); provide comments re same to E.
Lamek (.2); review Canada pleadings (.7).

Reviewing and revising response to Debtors’
motion for reconsideration, follow-up D.
Lowenthal re: same, consider same (1.0);
reviewing pleadings in Canada and follow-up

(1.0)

Revise draft response to US Debtors’ motion
for reconsideration and send same to J. Heaney
and Quinn (1.5); tc Akin re appeal deadline
(.5).

Te with J. Tecce and D. Lowenthal, follow-up
re: same, revise draft response (1.2); review
revised draft, tc D. Lowenthal re: sarne, revise
same (.4),

Work on response to US Debtors’
reconsideration motion (2.00); te with Quinn
and B. Guiney re same (.4); further revisions to
response (1.0); send updated version to Quinn
and J. Heaney (.5); review draft letter re
Committee membership and email Akin re
same (.4).

4.80 $3,408.00
5.80 $5,394.00
2.00 $1,420.00
2-00 $1,860.00
1.60 $1,136.00
4.30 $3,999.00

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Review materials for call, follow-up re: same,
prepare for same (.6); participate on same and
follow-up (.5); review revised letter to UST
(.1); begin working on quarterly update (.5);
review revised version and follow-up (.2):
reviewing and revising response to Debtors’
reconsideration motion with D. Lowenthal (.5);
review SNMP decision (.3); te C. Dent re: open
issues (1).

Revise latest draft of response to Debtors’
motion for reconsideration (2.1); Committee

call (.7); email draft response to S$. Miller (.2);

email revised draft to Quinn (.2); emails with 5.

Miller re same and proposed order (.3); review
J, Gross's decision re SNMP (.3); review
updated draft letter to UST and send comments
to Akin (1.0).

Finalize first draft of status report (2.0);
reviewing responses to reconsideration motion
and follow-up re: same, begin outlining reply
(2.5).

Finalize response to US Debtors' motion for
reconsideration (.4); email same to J. Heaney
(.2); emails with 8, Miller re filing today (.2);
begin review of motions for reconsideration
(.7).

Continued review of reconsideration replies
(.4).

Confer D. Lowenthal re: responses to motions
for reconsideration (.2); follow-up re: reply
date (.1); confer D. Lowenthal re: motions and
reply, other open issues (.4), confer C, Dent re:
reply (.3).

OC B. Guiney re responses to Law Debenture
motions for reconsideration (.2); reviewing
docket (.1).

2.80

4.80

4.50

1.50

0.40

1.00

0.30

$1,988.00

54,464.00

$3,195.00

$1,395.00

$372.00

$710.00

5189.00

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Te B. Guiney re responses to reconsideration
motion (,1); email same to J. Tecce and D.
Holzman (.1); email same to E. Lamek (.1);
continued review of reconsideration responses
(1.7); conf B. Guiney re case issues (.5).

Finalize quarterly report (.4); confer D,
Lowenthal re: reply and work on drafting same
(1.5).

Reviewing and revising quarterly update, TC
B, Guiney re same (5),

Continued review of objections/responses to
reconsideration motions (2.7); tc E. Lamek re
reply briefs/factums (.2); draft reply (2.3).

Review revised pleading, follow-up re: same,
confer D. Lowenthal re: same, confer C. Dent
re: same (1.1); follow-up D. Lowenthal re:
same and consider same (.4).

TC B. Guiney re response to motion for
reconsideration objections (.1).

Draft reply to objections to motions for
reconsideration (2.5); email Quinn re same (.1);
review draft reply in Canada (1.3).

Participate on weekly UCC call (.6); confer D.
Lowenthal re: reply, follow-up re: same, review
revised draft, attention to e-mails re: same (.9).

Committee call (.7); reviewing docket, OC D,
Lowenthal and B. Guiney re response to
objections to motions for reconsideration (.1).

Committee call (.7); revise reply re motions for
reconsideration (1.0); update same based on
comments from Quinn (.8); emails with Quinn
re same (.2); email reply drafts to J. Heaney
(.1); revise draft reply for Canada and send
comments to E. Lamek (.3); email US draft to
S. Miller (.1); send revised draft to Quinn, J.
Heaney, and E. Lamek (.2).

1,90

1.50

0.10

3.90

1.50:

0.80

$2,325.00

$1,349.00

$315.00

$4,836.00

$1,065.00

$3,627.00

$1,065.00

$504.00

$3,069.00

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Review Debtors' reply to objections to motion 20 $1,562.00
for reconsideration, review bondholders’ reply,
follow-up re: same (1.8); confer D. Lowenthal

re: same (.3); confer C. Dent re: same (.1).

Reviewing replies to objections to motions for 0.40 $252.00
reconsideration, OC B. Guiney re same.

Review draft brief to file in Canada and email 4:50 $4,185.00
changes to E. Lamek (.5); review draft US

Debtors’ brief (1.2); review draft bondholders’

brief (.6); emails with S, Miller (.2); email J.

Heaney (.2); leave detailed message for M.

Riela (.1): review Akin emails (.3); te B.

Guiney re US Debtors’ draft reply (3); tes Akin

re reconsideration briefing (.4); te J. Heaney re

briefing issues (.2); email Committee (.3); te

M. Riela re Debtors’ brief (.2).

Reviewing and revising Law Debenture 2.70 $1,917.00
pleading, review Akin draft and follow-up re:

same, reviewing revised CGSH draft and

follow-up (1.8); additional follow-up re: same,

reviewing revised drafts (.5), reviewing revised

2019 statements (.1); review trade consortium

pleading (.2); attention to filing and service of

reply (.1).

E-mails re Committee joinder to US Debtors’ 0.20 $126.00
reply to objections to motions for

reconsideration and Law Debenture response,

reviewing same (.1); reviewing docket and

2019s, e-mails re same w/D. Lowenthal and B.

Guiney (.1).

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Review Committee statement and send
comments to Akin (.5); email E. Lamek and J.
Tecce re Canadian statement (.1); review
Canadian draft and tc with E. Lamek and J.
Tecce re same (.7); email S. Miller re filing due
today (.1); email E, Lamek re changes to filing
due in Canada today (.1); te B. Guiney re same
and oral argument (.2); te R. Johnson re draft
statement to Court (.2); review updated US
Debtors' draft reply (.9); work on filings,
including review updated US Debtors’ and
UCC draft replies, te with J. Heaney re same,
and email the Committee re same (1.0); draft
client quarterly update (.7); review settlement
proposal and related email (.4).

Review e-mail from B. Kahn re: proposal and
analysis of same (.5): confer D, Lowenthal re:
open issues and June 25 hearing (.5); attention
to e-mails and recently-filed pleadings, follow-
up e-mails re: hearing preparation (.6); prepare
form of order, revise same per D. Lowenthal
and send to §. Miller (.6); review agenda for
6/25 hearing (.1).

Emails with S, Miller re filing (.2); finalize
client update (.3); te $. Miller re hearing on
reconsideration motion (.9); conf B. Guiney re
hearing (.5); work on draft Order (.7); emails
with J, Tecce: D: Holzman, $. Miller, and E.
Lamek re hearing (.2); email E. Lamek re filing
(.1); begin preparation for oral argument (2.8).

Follow-up re: revised order, revise same again
(.2); prepare for hearing, confer D. Lowenthal
re: same (.3): prepare for and participate on call
with working group, follow-up re; same (.5);
reviewing research related to appeal and other
open issues (.5); attention to EMEA claims
determination issue, follow-up re: same, confer
D. Lowenthal re: same, attention to e-mails
(.5); te D, Lowenthal re: oral argument (.3);
attention to UST letter re: trade claims
consortium (.1).

4.90 $4,557.00
2.30 $1,633.00
5.70 $5,301.00
2.40 $1,704.00

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6/26/15
6/26/15

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CONFIDENTIAL

CWD OCB. Guiney re Nortel hearing, reviewing 0.20 $126.00
docket (.2).
DAL. Prepare for oral argument (2.9); te with J. 4,20 $3,906.00
Tecce, D. Holzman, S. Miller and B. Guiney re
same (.3); revise draft order and send to team
(.7); tc E. Lamek re hearing preparation (.3).
BPG Prepare for, travel to, attend and return from 5.60 $3,976.00
hearing (5.6).
DAL Prepare for and participate in Court hearing on 11.90 $11,067.00
reconsideration motions in Delaware, related
follow-up, and travel to NY (11.5); memo to J.
Heaney re same (.4),
BPG — Confer D. Lowenthal re: hearing (.4); prepare 1,50 $1,065.00
for and participate on UCC call, follow-up re:
same (.9); review docket (.2).
CWD = OCD. Lowenthal re hearing (3). 0.39 $189.00
DAL — Follow-up on reconsideration hearing (2.5). 2.50 $2,325.00
Total Services 135.90 $114,481.00
Daniel A Lowenthal 83,60 hoursat $930.00 $77,748.00
Brian P. Guiney 47.30 hoursat $710.00 $33,583.00
Craig W. Dent §.00 hoursat $630.00 $3,150.00
Local Travel & Fares 248.54
Outside Professional Services 600.85
Reproduction - 0.60
Tvl - Meals 15.69
Tvl. Transportation/Lodging 395.00
Total Expenses $1,260.68

Total This Invoice

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Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 27 of 60

1923 Aveone af the Americas. New York, NY TOUS 7 TD

Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017

Re: NORTEL

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fae 2UZ ASE 222?

Invoice No. 824566
June 8, 2015
FEI No, 13+5622951

L0353-000007

WAVW. DOWLCUMT

CONFIDENTIAL ATTORNEY WORK PRODUCT

For Professional Services Rendered For The Period Ending
May 31, 2015 In Connection With The Following:

S/I/1S BPG _ Follow-up re: 5/5 hearing, confer D. Lowenthal
re: same (.2).

5/1/13 CWD. E-mails re hearing, reviewing docket (.1).

5/3/15 BPG Monitor hearing and follow-up re: same (.5);
OC D. Lowenthal re: same, confer C. Dent re:
same (for part) (.5).

5/5/15 CWD_ Reviewing docket (.1); e-mails re hearing, OC
DB. Lowenthal re same (.1).

S/S[AS DAL Review documents re Court status conf, attend.
same and update memo to J. Heaney and travel
to NY (4.8).

5/7/15 BPG — Weekly UCC call (.2).

5/7/15 CWL Committee call (.2).

5/8/15 CWD Reviewing docket (1).

5/12/15 BPG Reviewing and discussing allocation decisions
(2.1).

5/12/15 CWD — E-mails re allocation decisions, begin
reviewing same, TC B. Guiney re same, TC D.
Lowenthal re same (1.6).

5/12/18 DAL Email from Committee re allocation decision
(.1); te S. Miller re same (.2), leave detailed
vmail for E. Lamek and emails with E. Lamek
re same (.1); initial review of allocation
decisions (2.5); email decisions to J. Tecce, 8.
Miller, and E. Lamek (.2).

7978396v.1

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0.20 $142.00
0.10 $63.00
1.00 $710.00
0.20 $126.00
4.80 $4,464.00
0.20 $142.00
0.20 $126.00
0.10 $63.00
2.10 $1,491.00
1.60 $1,008.00
3.10 $2,883.00

IT00000815
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Invoice No. 824566

June 8, 2015

L0353-000007

$/13/15

5/3/15

5/14/15

S/L4/15

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S/LS/IS

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5/15/15
3/18/15

5/18/15

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BPG

CWD

DAL

BPG

CWD

DAL

BPG

CWD
DAL
BPG

CWD

Review Canadian allocation decision (1.5);
follow-up re: same, consider same and discuss
with D. Lowenthal (for part) (1.0).

TC D. Lowenthal re allocation decision, OC B.
Guiney re same, finish reviewing US allocation
decision (1.2); emails re Canadian claim,
follow up re same (.1).

Continue review of allocation decisions (1.7);
email colleagues re next steps (.3); tc M. Fagan
re Committee call (,1); email J. Heaney re same
(.1); conf B. Guiney re same (.3); tc 8. Miller re
same (.4); email E. Lamek re NNCC claims
(.6); emails with J. Heaney re decisions (.4).

Reviewing Capstone presentation, confer D.
Lowenthal re: same, TCs with Capstone re:
same, TC J. Tecce re: same, participate on
UCC call re: same and follow-up, reviewing
PPI appeal brief and follow-up (4.9).

Reviewing Capstone recovery deck in advance
of Committee call, participate in same, e-mails
re same (2.0).

Review Capstone materials ; te Capstone; te J.
Tecce; Committee call; emails with S. Miller
and E, Lamek.

Continue reviewing and considering open
issues, follow-up re: appeal period (.5).

Reviewing docket (.1).
Tc J. Heaney re appeal and direction letter (.2).

Confer D. Lowenthal re: PPI brief, re:
allocation appeal, follow-up C. Dent re: PPI
(.5); te S. Miller and follow-up re: same (.5).

Emails re PPI brief, TC B. Guiney re same,
leave message for M. Fagen re same, TC same
re same, OC 1D, Lowenthal re same, OC B.
Guiney re same (.5).

2.50

1,30

3.90

4.90

2.00

3.00

$1,775.00

$819.00

$3,627.00

$3,479.00

$1,260.00

$2,790.00

$355.00

$63.00

$186.00
$710.00

$315.00

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Page 3

Invoice No. 824566

June 8, 2015

L0353-000007

5/18/15

§/19/15

5/19/15

5/19/15

5/20/15

5/20/15

5/20/15

5/21/15

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DAL

BPG

CWD

DAL

BPG

CWD

DAL

BPG

Analyze potential appeal issues (.3); te D.
Holzman re strategy (.2); email J. Heaney re
same (.3); review decision (1.3).

TC D. Lowenthal and C. Dent re: status,
multiple TCs re: motion for reconsideration and
appeal, follow-up re: same (2.1); working on
motion for reconsideration (1.8).

Meeting w/D. Lowenthal and B, Guiney re
appeal issues, TC Cleary re same, TC Akin re
game, TC Quinn re same (2.1).

Analysis re motion for reconsideration (.3), te
A. LeBlanc re same (.4); tc A. Qureshi re same
(.4); te L. Schweitzer re same (.2); review PPI
settlement order (.4); analysis with B. Guiney
and C. Dent (1.6); te D. Holzman re same (.3);
tc R. Johnson re same (.2); te J. Heaney (.2); te
S, Miller re same (.9); work on motion for
reconsideration (.1); te D. Holzman (.1); emails
from M. Fagen and J. Heaney (.1).

Continue working on motion to reconsider
(1.1).

E-mails re motion for reconsideration (.2);
reviewing Committee summary re Canadian
appellate process (.1); OC D. Lowenthal re
Canadian appeal issues (.1).

Email E. Lamek (.1); tc E. Lamek re motion for
reconsideration (.5); review Canadian appeal
chart (.2); draft motion for reconsideration
(1.5).

Prepare for and participate on conference call,
review materials i/c/w same (1.6); continue
working on motion for reconsideration, meet
and confer D. Lowenthal and C. Dent re: same,
follow-up re: same (1.7).

2.10

3.90

2.10

5.20

1.10

0.40

2.10

3.30

$1,953.00

$2,769.00

$1,323.00

$4,836.00

$781.00

$252.00

$1,953.00

$2,343.00

1T00000817
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Invoice No. 824566

June 8, 2015

L0353-000007

5/21/15

5/21/15

5/22/15

5/22/15

5/22/15

§/25/15

5/25/15

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DAL

E-mails re motion for reconsideration, follow
up re same, reviewing same, revising same, OC
LD. Lowenthal and B. Guiney re same (2.6);
preparing for and participating in Committee
call, OC D. Lowenthal and B. Guiney re same
(1.7)

Draft motion for reconsideration (2.8) analyze
issues re sarne (.3); Committee call (1.2);
emails with Quinn and send draft motion (.3).

Consider motion for reconsideration and
follow-up D. Lowenthal and C. Dent re: same

(.5).

E-mails re motion for reconsideration, TC B.
Guiney re same, OC same re same, follow up re
same (.5); reviewing Debtors’ draft motion for
reconsideration, e-mails re same (.3).

Work on motion for reconsideration (2.2);
emails with D. Holzman re same (.3); emails
with Akin re same (.3); emails with E. Lamek
re allocation appeal issues (.2); review draft
objection to exclusivity motion (.3); review US
Debtors’ draft motion for reconsideration (.9).

Review draft motion for reconsideration, e-
mails re; same and follow-up, participate on
UCC call and follow-up (3.1).

E-mails re responses to allocation decision,
reviewing same (.7).

Email J. Heaney re status of motions for
reconsideration (.2); prepare for and participate
in Committee call (1.2); emails with Quinn re
motion (.3); review Quinn's revision to same
(.3); email UCC re status (.1).

4.30

4.60

0.50

0.80

4.00

3.10

0.70

210

$2,709.00

$4,278.00

$355.00

$504.00

$3,720.00

$2,201.00

$441.00

$1,953.00

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Invoice No. 824566
June 8, 2015
L.0353-000007

5/26/15 BPG Reviewing and revising motions for 7.00 $4,970.00
reconsideration, incl. tc with J. Tecce with D.
Lowenthal, for part (2.5); revising motion to
reconsider (1.0); attention to revised draft and
proposed order, follow-up re: same (.5);
additional follow-up re: same, finalize same
and coordinate filing (1.0); TC R. Johnson re:
same, review final UCC pleading, review
Cleary pleading (.5); multiple TCs and e-mails
with S. Miller and D. Lowenthal re: proposed
orders, follow-up re: same, circulate filed
version of motion to reconsider (1.5).

5/26/15 CWD — E-mails and follow up re motion for 2.10 $1,701.00
reconsideration of allocation decision, meeting
w/D, Lowenthal and B. Guiney re same, TC
Quinn re same (1.8); Committee call (.9).

5/26/15 DAL — Review Debtors’ and bondholders’ draft 8.50 $7,905.00
motions and revise and finalize Law
Debenture's motion for reconsideration (5,3); te
J. Teece re same (.4): te J. Heaney re same (.2);
Committee call (1.0); tc S. Miller re same (.3);
tc Lisa Schweitzer re same (.2): review draft
Order (.7); tc E. Lamek re next steps in Canada

(4).

5/27/15 BPG Review final, filed versions of motions to 1.30 $923.00
reconsider, follow-up re: same (1.0); follow-up
D, Lowenthal re: open issues (.3).

S715 CWD TC D. Lowenthal re Canadian appeal issues, e- 0.50 $315.00
mails re same (.5).
S/2 TINS DAL — Review motions for reconsideration (2.2); 5,70 $5,301.00

review BNYM Joinder (.3); review US
Debtors’ request for a joint hearing (.2); send
motions to J. Heaney (.2); tc E. Lamek re next
steps in Canada (.6); email J. Heaney re same
(1.0); review J. Newbould decision re possible
appeal issues (1.2).

§/28/15 BPG _ Prepare for and participate on weekly call, 1.50 $1,065.00
follow-up re: same (1.0); follow-up re: appeal
issues in Canada (.5).

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Invoice No, 824566
June 8, 2015
L.0353-000007

§/28/15 CWD E-mails re reconsideration motions, OC B. 0.90 $567.00
Guiney re same, TC D. Lowenthal re same (.8);
reviewing docket (.1).

S285 DAL Email from J. Tecce to L. Schweitzer (.1); 2.20 $2,046.00
Committee call (.6); tc E. Lamek re issues in
Canada re possible motions for reconsideration
and leave to appeal (.2); tes B. Guiney, C.
Dent, and E. Lamek re developments in Canada
for May 29 hearing - motion for
reconsideration and leave to appeal (.3); review
draft motion to reconsider for Canada and
emails with J. Tecee and E. Lamek re same
(1.0).

$/29/15 CWD — E-mails re Canadian hearing (.1); OC D. 0.90: $567.00
Lowenthal re note issues, TC D. Lowenthal re
same, follow up re same (.8).

5/29/15 DAL — Update from Canadian Court proceeding (.5); 1.80 $1,674.00
emails with E. Lamek and J. Tecce (.3); review
offering documents (.5); te J. Heaney (.1) tes J.
Tecce and J. Heaney re offering documents

(4).
5/31/15 CWD__ Reviewing docket (.1). 0.10 $63.00
Total Services 106.90 $86,065.00
Daniel A Lowenthal 53.30 hoursat $930.00 $49,569.00
Brian P. Guiney 34.10 hoursat $710.00 $24,211.00
Craig W. Dent 19.50 hoursat $630.00 $12,285.00
Filing Fees/Index Fees 214.00
Lexis Electronic Research 18.81
Reproduction 74.40
Tvl. Transportation/Lodging 555.33
Total Expenses $862.54
Total This Invoice $86,927.54

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CONFIDENTIAL 1T00000820
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ESS Avenue of the Amannas Now Yor NY PODGEG7 1G 214 336 2000

Law Debenture Trust Company of New York

400 Madison Avenue
New York, NY 10017

Re: NORTEL

AAV HCO
Invoice No. 822259
May 27, 2015

FEI No, XX-XXXXXXX

1,0353-000007

4/1/15
4/1/15

42/1

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Al2/15

4/14/15

AIS/1S

A/L3/15

4/15/15

4/18/15
4/20/15

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CONFIDENTIAL

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CWD

CONFIDENTIAL ATTORNEY WORK PRODUCT

For Professional Services Rendered For The Period Ending
April 30, 2015 In Connection With The Following:

Reviewing PPI appeal brief

Te F. Hodara re case issues (.3); review
Canadian Monitor’s brief re PPI appeal (.7).

Prepare for (.1); participate on weekly call,
follow-up re: same (.5).

Comunittee call (.5).

Prepare for and participate in Committee call
(8).

Reviewing docket, e-mails re hearing calendar
with managing clerk (.2).

Confer D. Lowenthal re: open issues (.4);
follow-up re: escrow terms (.2).

E-mails re Committee call and Canadian
hearing, reviewing docket (.1).

Conf. B. Guiney re status (.4); review email
from Committee’s Canadian counsel re IP sale

(.2).
Confer C. Samis re: allocation opinion (.2).

Follow up re hearing cancellation per B.
Guiney (.1).

0.20
1.00

0.60

0.50
0.80

0.20

0.60

0.10

().60

0.20
0.10

$126.00
$930.00

$426.00

$315.00
$744.00

$126.00

$426.00

$63.00

$558.00

$142.00
$63.00

ITO00000821
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Page 2

Invoice No. 822259
May 27, 2015
L0353-000007

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4/23/13

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4/24/15

4/24/15
4/27/15
4/28/15

4/29/15

4/29/15

4/29/15

4/30/15

4/30/15

4/30/15

7901041 v.1

CONFIDENTIAL

BPG

Prepare for and participate on weekly call,
follow-up re: same (.5); follow-up re: PPI
appeal in Canada (.1)

Committee call (.2); reviewing docket, e-mails
re PPI appeal (.1).

Te E. Lamek re PPI appeal hearing preparation
(.4); email update to J. Heaney (.2).

Te M. Riela re argument in Canada; te E.
Lamek re same: leave message for J. Heaney;
te J. Heaney (.7).

Confer D. Lowenthal re: appeal in Toronto,
review materials relating to same (.5).

Reviewing docket, OC D. Lowenthal re PPI
appeal hearing (.1).

Prepare for hearing on PPI in Canada (1.8).
Review appeal briefs (1.0).

Review appeal briefs and travel to Toronto for
oral argument (5.0).

Attention to e-mails regarding appeal hearing
(1).

Reviewing docket, e-mails re hearing (.1).

Prepare for and attend appellate argument on
Canadian PPI issue in Toronto, related follow-
up, and travel to NY (10.0).

Prepare for and participate on weekly call (.8).

Reviewing docket (.1); Committee call, OC D.
Lowenthal and B. Guiney re PPI hearing (8).

Follow-up on Canadian hearing (.9);
Committee call (.8).

0.60

0.30

0.60

0.70

0.50

0.10

1.80
1,00
5.00

0.10

0.10

10.00

0.80

0.90

1.70

$426.00

$189.00

$558.00

$651.00

$355.00

$63.00

$1,674.00
$930.00
$4,650.00:

$71.00
$63.00
$9,300.00
$568.00

$567.00

$1,581.00

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Page 3

Invoice No, 822259
May 27, 2015
L.0353-000007

7901041v.1

CONFIDENTIAL

Total Services 29.10 $25,565.00

Daniel A Lowenthal 23.20 hours at $930.00 $21,576.00
Brian P. Guiney 3.40 hours at $710.00 $2,414.00
Craig W. Dent 2.50 hoursat $630.00 $1,575.00
Filing Fees/Index Fees 181.00
Tvl - Meals 48.94
Tvl. Transportation/Lodging 481.84

Total Expenses $711.78

Total This Invoice 820,270.78

1T00000823
Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 36 of 60

Patterson Belknap Ved 4 Tyler us

Law Debenture Trust Company of New York

400 Madison Avenue
New York, NY 10617

Re: NORTEL

1123 Avenue of the Americas New York: NY 10038-6710 272.336.2000 fax 212.838.2222

wanw.oowt.com

Invoice No. 820094
April 8, 2015
FEI No. XX-XXXXXXX

L0353-000007

3/2/15

3/2/15
3/3/15
3/3/15

3/4/15

3/3/15

3/6/15

3/6/15

CONFIDENTIAL

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CWD

DAL

BPG

CWD

CONFIDENTIAL ATTORNEY WORK PRODUCT

For Professional Services Rendered For The Period Ending
March 31, 2015 In Connection With The Following:

Attention to CCAA pleadings and follow-up
(1); follow-up re: 3/3 hearing (.1).

Reviewing docket (.1).
Attention to responding factum (.3).

Review draft factum and provide comments to
E, Lamek and BNYM’s counsel (.8).

Revising monthly fee staternent, note to
accounting department re same (.2); reviewing
docket (.1).

Prepare for and participate on weekly call,
follow-up re: same (.8).

Reviewing docket (.1); Committee call, OC D.
Lowenthal and B. Guiney re same (.6),
reviewing revised IT PPI factum, follow up re
same, e-mails re same w/D, Lowenthal (.8).

Prepare for and participate in Committee call
(1.00); review and revise draft Canadian factum
(2.4).

Attention to e-mails re: factum, follow-up re:
same and confer D, Lowenthal re: same (.5).

Finalizing fee statement, e-mails w/D.
Lowenthal re sare (.2); reviewing docket, e-
mail from Committee re ASM meeting (1).

0.20

$142.00

$63.00
$213.00
$744.00

$189.00

$568.00

$945.00

$2,232.00

5355.00

$189.00

IT00000824
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Invoice No, 820094
April 8, 2015
L0353-000007

3/6/15

3/9/15

3/9/15
3/9/15

3/10/15

3/10/15

3/11/15

3/11/15

3/11/15

3/12/15

3/12/15

3/12/15

3/13/15

3/13/15

CONFIDENTIAL

DAL Continued work on factum re PPI appeal and 2.00 $1,860.00
provide comments to E. Lamek (1.9); emails
with Committee counsel and J. Heaney re in-
person meeting with trade creditor (.1).

BPG _ Attention to Law Debenture / BNY factum and 0.20 $142.00
points of authorities (.2).

CWD_ Reviewing docket (.1). 0.10 $63.00

DAL Review brief filed in Canada on PPI and emails 0,90 $837.00
with E. Lamek (.9).

CWD Reviewing letter re GUCs, reviewing docket 0.10 $63.00
(.1).

DAL Review letter from Brown Rudnick re interim 0.30 $279.00
distributions (.3).

BPG Review Brown Rudnick letter, consider same, 0.80 $568.00

confer D. Lowenthal re: same (.6); follow-up
B. Kahn re; same (.1); follow-up C. Dent re:

same (.1).

CWD Reviewing docket (.1); TC B. Guiney re Hain 0.20 $126.00
Capital letter (.1).

DAL Consider trade creditors’ request with B. 0.20 $186.00
Guiney (.2).

BPG _ Prepare for and attend UCC meeting (2.9); 4.00 $2,840.00

follow-up re: same with D. Lowenthal (for
part) and C. Dent (for part) (.6); begin working

on quarterly report (.5).

CWD__ Reviewing docket, OC D. Lowenthal and B. 0.60 $378.00
Guiney re ASM meeting (.2).

DAL Prepare for and attend Committee meeting with 4,20 $3,906.00

creditor and US Debtors, review relevant
documents, and related follow-up (4.00);
review hearing Agenda (.2).

BPG — Confer D. Lowenthal re: trade creditor issues 0.50 $355.00
and follow-up re: same (.5).

“y

DAL Follow-up to Committee meeting re request 0.10 $93.00
from trade creditors (.1).

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Page 3

Invoice No. 820094
April 8, 2015
1.0353-000007

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3/16/15
B/AL7/15

3/7/13
B/LT/NS
3/18/15

3/19/15

3/19/15

3/19/15

3/20/15
3/20/15

3/20/15

3/24/15

3/25/15

3/26/15

3/26/15

3/26/15

3/27/15

CONFIDENTIAL

CWD
BPG

CWD
DAL
DAL

BPG

CWD

DAL

BPG
CWD

DAL

BPG

CWD

BPG

CWD

DAL

DAL

Reviewing docket (,2).

Work on quarterly update, confer D. Lowenthal
re: same, confer C. Dent re: samme (3.0).

OC B. Guiney re quarterly update (.1).
Work on client update (.1),

Emails from J. Heaney and to Akin re
Committee call (.1).

Review materials for UCC call (.4); participate
on same and follow-up (.6); follow-up D.
Lowenthal re: same (.1).

Reviewing and revising quarterly case update
Committee call (.9).
Attention to revised update (.1).

Finish reviewing quarterly client update, e-
mails w/D. Lowenthal and B. Guiney re same.

Review and revise draft client update and send
to Law Debenture (.5).

Attention to 3/26 hearing, attention to pleadings
related to same (.5).

Reviewing docket, e-mails re Committee call
(.1).

Prepare for and monitor hearing on late-filed
claims motion (for part); (1.1); prepare for and
participate on UCC call, update D. Lowenthal
re: same (.8); continue monitoring same (for
part) (.7).

Reviewing docket (.1); Committee call,
reviewing Capstone deck re same (.8).

Review Capstone presentation re possible
interim distribution analysis (.5); emails from
B. Guiney re Court hearing update (.1); review
B. Guiney summary of developments (.4).

Review letters to J, Gross from US Debtors’
counsel and ad hoc claimants (.9).

0.90

1.00

0.90

$126.00
$2,130.00

$63.00
$93.00
$93.00

$781.00
$504.00
$837.00

$71.00
$189.00

$465.00

$355.00

$63.00

$1,846.00

$567.00

$930.00

$837.00

1T00000826
Case 09-10138-MFW. Doc 17944-14 Filed 02/22/17 ~Page 39 of 60

Page 4

Invoice No. 820094
April 8, 2015
1,0353-000007

3/31/15 BPG | Review docket, follow-up re: no-call issues 0,70 $497.00
(.1); review appeal brief (.6).
3/31/15 CWD. Reviewing docket (.1). 0.10 $63.00
3/31/15 DAL Send make whole/no-call decision to J. Tecce 0.20 $186.00
(.2).
Total Services 35.60 $28,032.00
Daniel A Lowenthal 14.60 hoursat $930.00 $13,578.00
Brian P. Guiney 15.30 hoursat $710.00 $10,863.00
Craig W. Dent 5.70 hoursat $630.00 $3,591.00
Filing Fees/Index Fees 58.00
Total Expenses $58.00

CONFIDENTIAL

Total This Invoice

1T00000827
Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 40 of 60

Patterson Delknap Webb @ Tyler u

113% Avenue of the Americas’ New York, NY 10066710 212.436.2000

Law Debenture Trust Company of New York
400 Madison Avenue
New York: NY 10017

Re: NORTEL

fax 212.936.2222

WNW. COWL CORT

Invoice No. 818167
March 6, 2015
FEI No. XX-XXXXXXX

L0353-000007

CONFIDENTIAL ATTORNEY WORK PRODUCT

For Professional Services Rendered For The Period Ending
February 28, 2015 In Connection With The Following:

Review agenda for hearing and follow-up re:

E-mails with Committee counsel re update (.2);
initial review of motion returnable on February

Review trial record stipulation and follow-up
re; same, e-mails re: same (.6); prepare for and

2/2/18 BPG
open items related to appeal. follow-up re:
cancellation of hearing (.3).

2/2/15 DAL ... Review Monitor’s Reports served by the
Canadian Debtors (5).

2/3/15 BPG Attention to materials filed in Canada (.1).

2/3/15 DAL — Review certification of counsel re E&Y
retention (.1),

2/4/15 BPG Attention to e-mails and agenda re: 2/5
Committee call (.2).

2/4/15 DAL
27 (1.0).

2/5/15 BPG
participate on Committee call and follow-up
(.8).

2/5115 DAL Committee call (.8); review record per US
Debtors’ request (.2).

2/6/15 BPG

CONFIDENTIAL

Follow-up re: trial stipulation and attention to
e-mails re: same (.2).

0.30

0.50

0.10
0.10

0.20

1.20

1.40

1.00

0.20

$213.00

$465.00

$71.00
$93.00

$142.00

$1,116.00

$994.00

$930.00

$142.00

1T00000828
Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 41 of 60

Page 2

Invoice No. 818167
March 6, 2015
L.0353-000007

2/6/13

2/9/15

2/9/15

2/10/15

2/10/15

2/12/15

2/12/15
Q/12/15
2/13/15

2/13/18

2/VT/15

2/18/15

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CWD

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CWD

CWD

DAL

TC S. Miller re update on settlement talks (.2);
review record per Debtors’ request, send
revisions to Cleary, e-mail documents to S.
Miller and E. Lamek, and send all to J. Heaney

(1.1).

Review agenda and schedule for next week,
follow-up re: Solus hearing (.2).

Reviewing docket, e-mails re Court calendar
with managing clerk's office (.3).

Reviewing e-mail from Committee counsel re
Canadian late filed claims Order (.1).

Review update from E. Lamek re factum in
Canada (.3); review e-mail from Committee
counsel re Scheduling Order concerning motion
of Canadian employees to file late claims in
US, review Scheduling Order and relevant
motion papers filed by movants, US Debtors,
Committee, and bondholders (1.8).

Prepare for and participate on Committee call
(.6); follow-up re: same (.1); follow-up re:
Solus hearing (.1); review memo re: SNMP
Research International adversary proceeding
C4)

Reviewing docket (.1).

Committee call (.6).

Reviewing and revising monthly fee statement.
note to accounting department re same (.2);
reviewing docket (.1).

E-mails with F. Godino re Committee call (.1);
TC F, Godino re same (.1); Committee call and
follow-up with F. Godino (.8).

Reviewing docket (.1); finalizing fee statement,
e-mail to D. Lowenthal re same (.2).

Reviewing docket, e-mails re Committee call
(1).
Committee call and follow-up with F. Godino

(.7).

1,30

0.20

0.30

0.10

2.10

0.10
0.60
0.30

1,00

0.10

0.70

$1,209.00

$142.00

$189.00

$63.00

$1,953.00

$852.00

$63.00
$558.00
$189.00

$930.00

$189.00

$63.00

$651.00

IT00000829
Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 42 of 60

Page 3

Invoice No. 818167
March 6, 2015
1.0353-000007

2/23/15

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2/24/15

2/4/15

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2/25/15
2/26/15

2/26/15

2/27/15
2/27/15

CONFIDENTIAL

BPG — Review summary of call and follow-up re: 0.30 $213.00
same (.3).
CWD_ Reviewing docket, e-mails re Committee call, 0.10 $63.00
reviewing agenda re same (.1).
BPG Review materials in advance of Committee call 1,90 $1,349.00
and prepare for same (1.0); participate on same
and follow-up (.9).
CWD. Reviewing Capstone presentation re recoveries 0.30 $189.00
(.2); reviewing docket (.1).
DAL. Review chart re settlement (.2); Committee call 1.20 $1,116.60
(1.0).
CWD__ Reviewing docket (.1). 0.10 $63.00
BPG — Confer D. Lowenthal re: joinder in late-filed 1.40 $994.00
claims motion, review bondholders’ joinder,
follow-up re: same (.6); reviewing settlement
deck and follow-up re: same (.8).
DAL TCE. Lamek re factum due re PPI (.2):; review 2.40 $2,232.00
briefs re late filed Canadian claims (2.2).
CWD — Reviewing docket (1). 0.10 $63.00
DAL — Court status conference (1.1). 1,10 $1,023.00
Total Services 22.20 $18.522.00
Daniel A Lowenthal 13.20 hoursat $930.00 $12,276.00
Brian P. Guiney 7.20 hoursat $710.00 $5,112.00
Craig W. Dent 1.80 hoursat $630.00 $1,134.00
Tvl. Transportation/Lodging 285.00
Total Expenses $285.00
Total This Invoice 818,807.00

1T00000830
Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 43 of 60

Patterson Selknao Webb « Tyler up

1139 Avanue of the Americas New York, NY 10036-6710 © 212.336.2000 fax 212.336.2222 — wwaw.phwt.com

Law Debenture Trust Company of New York
400 Madison Avenue
New York, NY 10017

Re: NORTEL

Invoice No. 816139
February 17, 2015
FEI No, XX-XXXXXXX

L0353-000007

CONFIDENTIAL ATTORNEY WORK PRODUCT

For Professional Services Rendered For The Period Ending
January 31, 2015 In Connection With The Following:

12/16/14

12/16/14
12/16/14

12/18/14

12/18/14

12/18/14

12/27/14
12/29/14

12/31/14

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Follow-up DB. Lowenthal re: call with J. Tecee
(.1); attention to e-mail re: same (.1).

E-mails re noteholder communications (.1).

TC J. Tecce re amendments to NNI schedules
and related issues (.2); e-mail J. Heaney re
amended schedules and related issues (.7).

Attention to agenda, minutes, e-mail D.
Lowenthal re: weekly Committee call (.1);
confer C. Dent re: weekly Committee call (.1);
review PPI decision, confer D. Lowenthal re:
same (1.3): additional follow-up re: same (.2).

Reviewing docket, TC D. Lowenthal re
Committee call (.1): e-mails re PPI decision,
TC B, Guiney re same (.2).

Committee call and related follow-up (.6); e-
mail re PPI decision (,1); review PPI decision
(1.0).

Reviewing docket (.1).

E-mail from Committee re patent sale,
reviewing docket (.1).

Reviewing notice of appeal of PPI decision

(1).

0.20 5138.00
0.10 $57.00
0.90 $805.50
1.70 $1,173.00
0.30 5171.00
1.70 $1,521.50
0.10 $57.00
0,10 $57.00
0.10 $57.00

1T00000831
Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 44 of 60

Page 2

Invoice No. 816139
February 17, 2015
1L.0353-000007

L/SAS

1/3/15

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Attention to notice of appeal, follow-up re:
same (.2); review draft factum and follow-up
(.4); work on status report (1.1); follow-up re:
same (.1).

Reviewing docket (.1); e-mails re PPI factum
(.1).

E-mails with Law Debenture re status report
(.2); review draft appeal factum re Canada PPI
decision (1.1); review and revise Law
Debenture status report (.7).

Attention to e-mails re: Canadian factum,
follow-up re: same (.2); additional follow-up
re: same (.1).

Reviewing docket, e-mails re revisions to Ad

Hoc Group factum re Canadian PPI appeal (.1).

Review Opinion and Order on PPI settlement
and Akin memo re same (1.6); review e-mails
from Canada and updated draft appeal brief re
J. Newbould decision on PPI and send same to
J. Heaney (1.2).

Attention to agenda and e-mails re: weekly
Committee call (1).

Reviewing docket, e-mails re PPI factum (.1);
reviewing agenda for Committee call (.1).

Review updated draft appeal brief in Canada
and E. Lamek’s comments (.8); review Akin
memo re J. Gross’s decision on PPI settlement
(.3); review Monitor’s notice of appeal (.2);
review J. Newbould decision re UKPC claims
(.1); review Committee agenda for Committee
call (.1).

Attention to notes from weekly Committee call

and follow-up (.1); consider case status with D.

Lowenthal (.1).

E-mails with Canadian counsel re factum for
appeal (.2).

Reviewing docket (.1).

1.80

0.30

0.10

2,80

0.10

0.20

1.50

$1,278.00

$126.00

$1,860.00

$213.00

$63.00

$2,604.00

$71.00

$126.00

$1,395.00

$142.00

$186.00

$63.00

1T00000832
Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 . Page 45 of 60

Page 3

Invoice No. 816139
February 17,2015
1,0353-000007

1/14/15

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1/21/15

1/22/15

1/22/15

1/22/15

1/23/15

1/23/15:
1/27/15

V/27/15
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Reviewing docket, e-mails from Committee re
Monitor's PPI appeal (.4).

Follow-up re: 1/20 hearing (.1).

Reviewing docket and Agenda for 1/20
hearing, e-mails re same w/D. Lowenthal (.2);
reviewing and revising monthly fee statement,
note to accounting department re same, e-mail
to D. Lowenthal re same (.3).

E-mails re Canadian PPI appeals and IT
factums, reviewing docket (.1).

Work on fee statement (.2).

Reviewing docket and amended UKPC notice
of appeal of Canadian decision (.2).

Review materials for Committee call (.6);
participate on same and follow-up (.5).

Reviewing docket (.1); OC B. Guiney re
Committee call (1).

Review UKP’s issues on appeal and Monitor’s
issues on appeal, and TC with Committee re
same (1.4).

Attention to hearing dates (.1),
Reviewing docket (.2).

E-mails re Committee call, reviewing docket
(.2).
Review designation of record (1.2).

E-mails re Committee call, reviewing agenda re
same (.2).

Review e-mail from C. Dent, consider same
and follow-up re: same (.5).

Committee call, OC B. Guiney re same, e-mails
re same w/D. Lowenthal and B. Guiney (.9).

Confer C. Dent re: trade claims and follow-up
(.2).

0.40

0.10
0.50

0.10

0.20
0.20

1.10

0.20

1.40

0.10

0.2.0
0.20

1.20
0.20

0.50

0.90

0.20

$252.00

$71.00
$315.00

$186.00
$126.00

$781.00

$126.00

$1,302.00

$71.00

$126.00
$126,00

$1,116.00
$126.00

$355.00

$567.00

$142.00

IT00000833
Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 46 of 60

Page 4

Invoice No. 816139
February 17, 2015
L.0353-000007

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1/30/15

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CWD OCB. Guiney re Committee call (.1).

DAL Review information re Canadian PPI appeal,

trade creditor issues re distributions, and

upcoming UKPC meeting (1.2); e-mails with E.
Lamek re upcoming factum due in support of

bondholders’ PPI appeal in Canada (.2).

Daniel A. Lowenthal
Daniel A. Lowenthal
Brian P. Guiney
Brian P. Guiney
Craig W. Dent

Craig W. Dent

10.70
2.60
4.40
1.90
3.60
0.70

Total Services

hours.at
hours. at
hours at
hours at
hours at
hours at

$930.00
$895.00
$710.00
$690.00
$630.00
$570.00

Total Expenses

Total This Invoice

0.10 $63.00
1.40 $1,302.00

23.90 $19,380.00

$9,951.00

$2,327.00

$3,124.00

$1,311.00

$2,268.00

$399.00
$0.00

1T00000834
Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 47 of 60

Patterson Beiknap Webb a Tyler up

Law Debenture Trust Company of New York

400 Madison Avenue

New York, NY 10017

Re: NORTEL

1132 Avenue of the Ameriess New York, NY 10038-6710 212.336.2000 fax 212,398.2227

WAV. bwtcorn

Invoice No. 814340
January 20, 2015
FEI No. XX-XXXXXXX

L0353-000007

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CONFIDENTIAL ATTORNEY WORK PRODUCT

For Professional Services Rendered For The Period Ending
December 31, 2014 In Connection With The Following:

Follow-up D. Lowenthal and C. Dent re: open
issues (including Canadian appeal and
estimation motion) (.1); draft and circulate
statement related to estimation motion (.9).

Reviewing docket (.1); reviewing draft
response re Solus motion (.1); reviewing
materials re claim reconciliation (.1).

Follow-up re: NNCC Notes pleading (1);
confer D. Lowenthal re: NNCC Notes
documents, review same and follow-up re:
same (.9).

Revising response to Solus motion, e-mails re
same w/L}. Lowenthal and B. Guiney (.7).

E-mail chart from Debtors re NNCC notes to J.
Heaney (.5); review draft statement in response
to holders’ motion (.7).

Confer C. Dent re: Nortel pleading (.1); follow-
up B. Lowenthal re: same (.1); review draft
Committee pleading and follow-up re: same
(.5); TC D. Lowenthal re: sare (.1); review
revised pleading, attention to e-mails regarding
adjournment, TC D, Lowenthal re: same (.4);
confer C. Dent re: same (.1).

Reviewing docket (.2); OC B. Guiney re
NNCC estimation response deadline, e-mails re
same from Debtors, reviewing Debtors!
reconciliation re same (.4).

1.00

0,30

1.00

0.60

$690.00

5171.00

$690.00

$399.00

$1,074.00

$897.00

$342.00

ITO00000835
Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 48 of 60

Page 2

Invoice No..814340
January 20, 2015
L0353-000007

12/3/14

12/4/14

12/4/14
12/4/14

12/5/14

12/3/14

12/8/14

12/8/14

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Revise draft pleading re holders’ motion and
review e-mails from Debtors’ and Committee
counsel (2.2).

Review materials for weekly Committee call
(.2); participate on Committee weekly call and
follow-up re: same (.4)

Committee call (.4).

Review Canadian Court’s decision re leave for
appeal concerning PPI ruling (.2); Committee
call and follow-up re same (.5).

Follow-up re: adjournment, attention to
amended schedule (.2).

Reviewing docket (.1); reviewing and revising
monthly fee statement, note to accounting
department re same (.2),

Confer D. Lowenthal and C. Dent re: amended
schedules (.2); review notice re: same (.1).

Reviewing documents re amendment of NNI
and NNCC schedules, OC B. Guiney re same
(4); reviewing docket (.1); finalizing monthly
fee statement, e-mails w/D. Lowenthal re same

(.2).

Confer D, Lowenthal re: revised schedules and
claims bar date, additional follow-up re: same
(.3); attention to J. Newbould claim decision

(.2).
Reviewing Canadian decision re NNUE claims

(3).

Review updated schedules (.5); work on fee
statement (.2)

Reviewing docket (.1).
Update $. Miller on case issues (.3).

2.20

0.60

0.40

0.70

0.20

0.30

0.30

0.70

0.50

0.30

0.70

0.10
0.30

$1,969.00

$414.00

$228.00

$626.50

$138.00

$171.00

$207.00

$399.00

$345.00

$171.00

$626.50

$57.00
$268.50

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Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 49 of 60

Page 3

Invoice No. 814340
January 20, 2015
L,0353-000007

12/11/14

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12/11/14

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12/15/14
12/15/14
12/16/14

12/16/14
12/16/14

12/18/14

12/18/14

12/18/14

12/27/14

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CONFIDENTIAL

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DAL
BPG

CWD

DAL

BPG

CWwD

DAL

CWB

Study J. Newbould UKF claim decision,
prepare for Committee weekly call (1.1);
participate on same and follow-up (1-1); update
D. Lowenthal and C. Dent re: same (.2);
attention to response from Debtors, follow-up
re: NNCC claim (4).

Committee call (9).

E-mail J. Heaney re Committee call (.1); update
on Committee call from B. Guiney and C. Dent
(.2); work on fee statement (.2).

Review Court hearing agenda (.1).

Follow-up re: December hearing, attention to
recently-filed and served pleadings (.2).

Reviewing docket (.1).
Attention to amended schedules (.3).

Follow-up D. Lowenthal re: call with J. Tecce
(1); attention to e-mail re: same (.1).

E-mails re noteholder communications (.1).

TC J. Tecce re amendments to schedules and
related issues (.2); e-mail J. Heaney re same,
amended schedules and related issues (.7).

Attention to agenda, minutes, e-mail D.
Lowenthal re: weekly Committee call (.1);
confer C, Dent re: weekly Committee call (.1);
review FPI decision, confer D. Lowenthal re:
same (1.3); additional follow-up re: same (.2).

Reviewing docket, TC D. Lowenthal re
Comnnittee call (.1); e-mails re PPI decision,
TC B. Guiney re same (.2).

Committee call and related follow-up (.6); e-
mail re PPI decision (.1): review decision 1.0).

Reviewing docket (.1).

2.80

0.90
0.50

0.10

0.20

0.10
0.30
0.20

0.10
0.90

1.70

0.30

1.70

0.10

$1,932.00

$513.00
$447.50

$89.50

$138.00

$57.00
$268.50
$138.00

$57.00
$805.50

$1,173.00

$171.00

$1,521.50

$57.00

1T00000837
Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 50 of 60

Page 4

Invoice No. 814340
January 20, 2015
L0353-000007

12/29/14 CWD E-mail from Committee re patent sale, 0.10 $57.00
reviewing docket (.1).

12/31/14 CWD Reviewing notice of appeal of PPI decision 0.10 $57.00
(1).

Total Services 23.50 $17,366.00

Daniel A Lowenthal 8.60 hoursat $895.00 $7,697.00
Brian P. Guiney 9.80 hours at $690.00 $6,762.00
Craig W. Dent 5.10. hours at © $570.00 $2,907.00
Filing Fees/Index Fees 193.00
Misc. 44 00
Outside Professional Services 2.60

Total Expenses $239.60

Total This Invoice - $17,605.60

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CONFIDENTIAL 1T00000838
Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 51 of 60

Patterson pelknap YWebh « Tyler we

V1a3 Avenue of tie Americas Mow Yark NY TOOEE-67 90 219 S98 2noG

Law Debenture Trust Company of New York

400. Madison Avenue

New York, NY 10017

fax 212 336 2082

WA DWT Sore

Invoice No. 812247
December 10, 2014
FEI No. XX-XXXXXXX

Re: NORTEL L0353-000007
CONFIDENTIAL ATTORNEY WORK PRODUCT
For Professional Services Rendered For The Period Ending
November 30, 2014 In Connection With The Following:
11/2/14 DAL _ Review replies re PPI settlement (1.7). 1.70 $1,521.50
11/3/14 BPG | Attention to updates re: settlement negotiations 0.20 $138.00
(1); attention to Monitor’s filings related to
appeal (.1).
11/3/14 CWD Reviewing docket, e-mails re settlement 0.10 $57.00
conference (.1).
11/3/14 DAL Attend settlement conference (7.8). 7.80 $6,981.00
11/4/14 BPG. Monitor PPI hearing (for part) (3.5). 3.50 $2,415.00
11/4/14 CWD Reviewing docket, e-mails re hearing and 0.20 $114.00
mediation (.2).
11/4/14 DAL Email J. Heaney re settlement conference (.4): 9,90 $8,860.50
court hearing on PPI settlement motion (9.5).
1i/S/14 BPG — Monitor PPI hearing, attention to follow-up e- 4.20 $2,898.00
mails re: same (3.0); confer D. Lowenthal re:
PPI hearing, estimation motion, other open
issues (1.0); additional follow-up re: same (.2).
11/5/14 CWD — Reviewing docket (.1); reviewing Monitor's 0.30 $171.00
responding factum (.2).
11/5/14 DAL Attend Court hearing (7.8); status update with 8.80 $7,876.00
B. Guiney (1.0).
11/6/14 BPG Prepare for and participate on weekly 2.20 $1,518.00
Committee call, follow-up re: same (1.0); OC
D. Lowenthal and C. Dent re: estimation
motion and next steps (1.0); additional follow-
up re: same (.2).
7499993y.2

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ITO00000839
Case 09-10138-MFW Doc 17944-14 Filed 02/22/17 Page 52 of 60

Page 2

Invoice No. 812247
December 10, 2014
L0353-000007

11/6/14

11/6/14

11/7/14

LE/10/14

11/11/14

—«LVII/14

11/12/14

11/12/14

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11/14/14
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Meeting w/D. Lowenthal and B. Guiney re
claim issues and litigation (1.0).

Review key issues re settlement conference and
PPI hearing (.2); assist Law Debenture with
Committee issue (.2); team meeting, follow-up
re same (1.2).

Reviewing docket and hearing calendar, e-
mails re same w/D. Lowenthal (.2); reviewing
and revising monthly fee statement, note to
accounting department re same (.3).

Confer D. Lowenthal re: estimation motion
(.1); consider same, begin drafting response

(1.2).

Review docket (.1); attention to notice of
adjournment, calendar same (.2); follow-up D.
Lowenthal re: same (.1).

Review adjournment of hearing and calendar

(1).

Consider response to estimation motion and TC
D, Lowenthal re: same (.2); review bondholder
group factum and follow-up (.6).

Review brief in Canada and e-mails with E.
Lamek and BNYM’s counsel re same (1.8);
review Committee agendas (.2).

Prepare for and participate on Committee
weekly call, follow-up re: same (.4).

Committee call (.3).
Work on billing (.1).
Reviewing docket (.2).

Attention to case calendar, cancellation of
hearing, open issues (.2).

Reviewing docket (.1).
Reviewing docket (.1).

Reviewing docket (.2),

1.00

1.60

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0.80

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0.10
0.20
0.20

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0.20

$570.00

$1.432.00

$285.00

$897.00

$276.00

$89.50

$552.00

$1,790.00

$276.00

$268.50

$89.50
$114.00
$138.00

$57.00
$57.00
$114.00

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Invoice No. 812247
December 10, 2014
L0353-000007

11/21/14 BPG Confer D. Lowenthal re: Monday meeting, 0.60 $414.00
open issues (.2); attention to e-mail update
from D. Lowenthal and follow-up (.2); TC D.
Lowenthal re: same (.2).

11/21/14 CWD ~ Reviewing docket, e-mails re noteholder 0.20 $114.00
motion (.2).
11/21/14 DAL. Analyze case issues in preparation for 0.90 $805.50

Committee meeting (.3); TC J. Tecce re motion
to estimate status and follow-up (.2); e-mail J,
Heaney re case issue (.4).

11/24/14 BPG — Confer C. Dent re: meeting materials (2); 4.40 $3,036.00
review same (.8); attend Committee meeting,
follow-up re same (3.0); follow-up D.
Lowenthal re: same (.2); update C. Dent re:
meeting (.2).

11/24/14 CWD _ Reviewing Committee presentations, OC B. 0.80 $456.00
Guiney re same (.7); reviewing docket (.1).

11/24/14 DAL. Committee meeting at Akin (2.7); follow-up 2.90 $2,595.50
(.2).

11/25/14 BPG. Confer D. Lowenthal re: 12/2 hearing, other 0:10 $69.00
open issues (.1).

11/26/14 CWD Reviewing docket (.1). 0.10 $57.00

11/27/14 CWD _ E-mail from Committee re Canadian PPI 0.10 $57.00
appeal (1).

11/30/14 CWD _ Reviewing docket (.1). 0.10 $57.00

Total Services 58.40 $47,216.50

Daniel A Lowenthal 36.10 hoursat $895.00 $32,309.50
Brian P. Guiney 18.30 hoursat $690.00 $12,627.00
Craig W. Dent 4.00 hoursat $570.00 $2,280.00
Miss. 302.00
Outside Professional Services 130.00
Tvl. Transportation/Lodging 872.70

Total Expenses $1,304.70

Total This Invoice _ $48,521.20

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Law Debenture Trust Company of New York

400 Madison Avenue
New York, NY 10017

Re: NORTEL

1198 duenue of the Ameritas New Yorks WY TGQ88-0710 ZEA EIG 2000 Tax SP EQG 2 2e

AKAN. DOW. COM

Invoice No: 810224
November 14, 2014
FEI No. XX-XXXXXXX

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10/7/14

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CONFIDENTIAL ATTORNEY WORK PRODUCT

For Professional Services Rendered For The Period Ending
October 31, 2014 In Connection With The Following:

E-mail E. Lamek re hearing in Canada (.1).

Prepare for and participate on weekly
Committee call, follow-up re: same (.5)

Committee call (.5).

Review monitor’s PPI objection, WTI
objection and expert report (1.2): follow-up re:
same, review prior Court orders re: same (.4);
TC D. Lowenthal re: same and follow-up (.3);
confer C. Dent re: same (.2),

E-mails re Monitor's response to 9019,
reviewing same, TC B. Guiney re same,
follow-up re same (.8).

Review email from Committee counsel re
comments in Monitor's papers concerning Law
Debenture and email J. Heaney re same (1.5).

Confer D. Lowenthal re: open issues, follow-up
S. Miller re: same (.4).

Attention to Monitor's pleading with B. Guiney
(2).
Calendar response date for PPI pleading (.1).

Follow-up re post-trial briefs w/E. Lamek (.3),
reviewing docket (.2): revising fee staternent,
note to accounting department re same (.4).

0.10
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$89.50
$345.00

$447.50

$1,449.00

$456.00

$1,342.50

$276.00

$179.00

$69.00
$513.00

IT00000842
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Invoice No. 810224
Novernber 14, 2014
1.0353-000007

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BPG Review Capstone presentation, prepare for and 1.00 $690.00
participate on weekly Committee call, follow-
up re: sare (1.0).

CWD_ E-mails re motion for leave to appeal (.1); e- 0.50 $285.00
mails re hyperlinked post-trial briefs w/E.
I,amek and Goodmans (.1); reviewing post-trial
stipulation, e-mails re same w/D. Lowenthal
and B. Guiney (.3).

DAL Review appeal factum in Canada and Canadian 0.40 $358.00
counsels’ comments (.4).
CWD> E-mails re post-trial briefs w/Goodmans (.1); e- 0.30 $171.00

mails re trial record stipulation (.1); finalize fee
statement, e-mails re same w/D. Lowenthal
(1).
BPG Review e-mail related to discovery dispute, 0.30 $207.00
follow-up re: same (.2); review bond price
chart, agenda for Committee call (.1).

CWD Reviewing docket (.1); e-mails re bondholder 0.20 $114.00
settlement 9019 litigation (.1).
BPG Review Debtor’s motion to compel (4); 1.60 $1,104.00

prepare for and participate on call, follow-up
re: same (.7); confer C. Dent re: Cornmittee
meeting, claim issues, follow-up re: same (.5).

CWD _ Reviewing docket (.4); OC B. Guiney re 0:80 $456.00
Committee call and claims issues (.4).

BPG — Confer D, Lowenthal re: open issues (.2); 0.30 $207.00
confer A, Qureshi re: telephonic conference
(.1).

BPG Review Monitor objection to Motion to 0.50 $345.00
Compel (.5).

CWD ~ Reviewing docket (.1). 0.10 $37.00

BPG . Monitor hearing in Nortel PPI discovery 1.00 $690.00

dispute (.7): follow-up e-mails re: Wertheim
deposition, confer C. Dent re: same (.2);
attention to other e-mails re: same (.1).

CWD Reviewing docket (.1); monitoring hearing (.7). 0.80 $456.00

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Invoice No. 810224
November 14, 2014
L0353-000007

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10/24/14
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10/27/14

10/27/14

10/27/14

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Review Monitor's pleading re deposition (1.3);
attend Court conf. re discovery and related
follow-up (1.4).

Confer D. Lowenthal re: strategy, follow-up re:
same and consider same (.5); review Canadian
Monitor PPI statement, Solus/Macquairie
statement, follow-up re: same, confer D.
Lowenthal and C. Dent re: same (1.0).

Reviewing docket, emails re 9019 response
(1).

TC Teece re next steps re NNCC (.5); e-mail to
colleagues re same (.2); go-forward issues (.2).

Prepare for and participate on weekly
Committee call, follow-up re: same (.4); confer
D. Lowenthal and C. Dent re: strategy and next
steps, follow-up re: 502(c) (1.1); research re:
same (.5).

Committee call, OC D. Lowenthal and B.
Guiney re 9019 response deadline (1.3).

Update on Court hearing re motion to compel,
including analysis of settlement issues and
possible holder motion to estimate with B.
Guiney and C. Dent (1.8); work on fee
statement (.2).

Follow-up re: NNCC pleading G1).
Reviewing docket (.1).

Work on fee statement (.2); attention to
pleadings due on October 30 (.2).

Review draft motion to estimate, follow-up re:
same, multiple TCs and e-mails re: same (1.0);
review e-mail from M. Fagen re: same (.1),

Emails re Solus filing, OC B. Guiney re same
(.2); reviewing docket (.1).

Review draft of Holders' motion, TC with J.
Tecce re same, and email to J. Heaney (1.0).

2.90

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0.40

1.10

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1.00

$2,595.50

$1,035.00

$57.00

$805.50

$1,380.00

$741.00

$1,790.00

$69.00
$57.00
$358.00

$759.00

$171.00

$895.00

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Novernber 14, 2014
L.0283-000007

BPG Review filed version of NNCC pleading, 0.90 $621.00
follow-up re: same (.2); confer D. Lowenthal
re: same and re: PPI hearing/responses (.3); OC
D. Lowenthal re: NNCC/strategy (.4).

CWD. Reviewing docket (.3); reviewing draft factumn 0.70 $399.00
(.4).
DAL Emails with holders’ counsel re Court 0.80 $716.00

transcript (.1); review outstanding issues with
B. Guiney (.7).

BPG Confer D. Lowenthal re: draft factum, review 0.70 $483.00
same (.5): follow-up C. Dent re: same (.1);
additional follow-up re: same (.1).

CWD © Revising draft factum, e-mails re sarne w/D. 2.20 $1,254.00
Lowenthal and B. Guiney, participating in call
re same W/BNYM and Canadian counsel (2.2).

DAL Review draft factum, including TC with E. 4,20 $3,759.00
Lamek, J. Marshall, and BNY’s counsel (2.7);
tc J. Tecce re case issues (.3); e-mail J. Heaney
re update and recommendations re settlement
conf and hearing (1.2).

BPG Review materials for Committee call. including 3.80 $2,622.00
draft 9019 statement. follow-up re: same, ¢-
mails re: same (.8): participate on weekly
Committee call and follow-up re: same (1.0):
review Wertheim deposition transcript, confer
D. Lowenthal! and C. Dent re: same (1.0);
review Debtor and bondholder responses on
9019 motion (1.0).

CWD _ Reviewing draft Committee 9019 statement, e- 2.60 $1.482,00
mails re same, follow-up re November 4
hearing (.3); Committee call, OC D. Lowenthal
and B. Guiney re same and November 3
meeting (1.1); reviewing Weirtheim deposition
transcript. e-mails re same w/colleagues, TC
same re same (1.2).

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Invoice No. 810224
November 14, 2014
1,0353-000007

10/30/14 DAL E-mail J. Heaney re NNCC motion and 5.40 $4,833.00
Committee (.2); comments on draft Committee
statement (.8); te with D. Botter (.2); email J.
Heaney (.2); review Wertheim deposition (1.5);
review holders’ motion and related follow-up
(2.5).

10/31/14 BPG Attention to Tuesday hearing, review revised 0.60 $414.00
factum and follow-up re: D. Lowenthal
comments to same (6).

10/31/14 CWD _ Reviewing revised Canadian factum re PPI 0.90 $513.00:
appeal (.1); reviewing docket and Agenda for
11/4 hearing, TC B. Guiney re same, follow-up
re same (.3); OC D. Lowenthal re Solus motion
and related issues (.5),

10/31/14 DAL | E-mails with J. Heaney and E. Lamek re 2.20 $1,969.00
Canadian factum (.2); review updated draft
factum (.9); review hearing Agenda (.1); conf.
C. Dent re case issues (.7); TC J. Tecce re
upcoming hearing (.2).

Total Services 53.60 £40,084:50

Daniel A Lowenthal 2950 hours at $895.00 $20,137.50
Brian P. Guiney 18.50 hoursat $690.00 $12,765.00
Craig W. Dent 12.60 hoursat $570.00 $7,182.00
Lexis Electronic Research 39.32

Total Expenses $39.32

Total This Invoice $40,123.82

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Law Debenture Trust Company of New York

400 Madison Avenue
New York; NY 10017

fax 2 TE RG. 2222

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Invoice No. 808321
October 23, 2014
FEI No. XX-XXXXXXX

Re: NORTEL L0353-000007
CONFIDENTIAL ATTORNEY WORK PRODUCT
For Professional Services Rendered For The Period Ending
September 30, 2014 In Connection With The Following:
9/2/14 BPG Confer C. Dent re: open issues, follow-up re: 1.00 $690.00
Solus submission, confer C. Dent and D.
Lowenthal re: same and follow-up re: same
(1.0).
9/2/14 CWD _ Reviewing docket, e-mails re hearing calendar 1.00 $570.00
(1); e-mails re Canadian PPI fee issues, TC D.
Lowenthal and B. Guiney re same (.9).
9/2/14 BAL Work on Canadian appeal issues with 1.00 $895.00
colleagues, TC with M. Riela, and e-mails with
E. Lamek (1.0).
9/3/14 BPG _ Attention to e-mails regarding appeal in 0.30 $207.00
Canada, attention to e-mails regarding reply to
allocation briefs, follow-up re: same (3).
9/3/14 CWD E-mails re Canadian PPI appeal issues, TC D. 0.40 $228.00
Lowenthal re same (.4).
9/3/14 DAL Attention to appeal issues, including e-mails 3.00 $2,685.00
with Canadian counsel and review memo
provided by same, e-mails with Debtors’
counsel and bondholders! counsel re post-trial
briefing (3.0).
9/4/14 BPG _ Prepare for and participate on weekly 0.80 $552.00
Committee call (.4); follow-up D. Lowenthal
re: same, re: appeal (.3); attention to e-mails re:
appeal (.1).
9/4/14 CWD E-mails re Canadian PPI appeal (.1). 0.10 $57.00
9/4/14 DAL Work on appeal matters (3.7). 3.70 $3,311.50
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Invoice No. 808321
October 23; 2014
L0353-000007

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7381709v.2

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Attention to e-mails re: appeal and follow-up
(.3); review Cleary draft reply (2.1).

E-mails re Canadian appeal issues (.2);
reviewing docket (.1); revising monthly fee
statement, note to accounting department re
same (.3).

Work on Canadian appeal issues (2.2).

Reviewing docket, reviewing revised form of
Canadian PPI Order (.1).

Work Canadian appeal issues, including emails
with E. Lamek and BNYM's counsel (5).

E-mails related to appeal (.2); e-mails re:
joinder, confer C. Dent re: same, draft same
and circulate (.6); attention to e-mails re:
appeal and follow-up (.2); review letter to
Court and follow-up (.2); attention to additional
e-mails re: same and follow-up (.2); confer D.
Lowenthal re: same and follow-up (2).

E-mails re Canadian appeal issues and joinder,
OC B. Guiney re same (.5); reviewing docket

(2).

Work on Canadian appeal issues (5.3); work on
reply brief (2.5).

Attention to e-mails regarding appeal, confer C.
Dent re: same, respond to D. Lowenthal re:
same (.3); review Milbank brief (.8); revise
joinder per D. Lowenthal (.7); review revised
Cleary brief (.2); attention to e-mails re: appeal,
clarification of record (.3).

E-mails re Canadian appeal issues, reviewing
leave to appeal re same (.3); reviewing docket
(.1); finalizing monthly fee statement, e-mails
re same w/D. Lowenthal (.2).

Review work on post-trial brief (1.0); work on
Canadian appeal issues, including e-mails with
E. Lamek and J. Heaney (1.0).

0.70

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$1,656.00

$342.00

$1,969.00
$57.00

$447.50

$1,104.00

$399.00

$6,981.00

$1,587.00

$342.00

$1,790.00

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